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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

   UMG RECORDINGS, INC. et al.

                              Plaintiffs,             Case No. 8:19-cv-00710-MSS-TGW
          v.

   BRIGHT HOUSE NETWORKS, LLC,

                              Defendant.

                      NOTICE OF PROPOSED AMICUS CURIAE BRIEF

          Please take notice that on November 11, 2019, twenty-three intellectual property

   law professors brought forth a motion for leave to file an amicus brief, as well as the

   proposed amicus brief, in the matter pending in the District of Colorado, Warner Bros.

   Records Inc., et al., v. Charter Communications, Inc. For the Court’s consideration,

   Bright House attaches the Motion for Leave as Exhibit 1 and the Proposed Amicus as

   Exhibit 2.

          This amicus brief is in support of Charter Communications, Inc.’s (“Charter”)

   Objections    to     the      Magistrate    Judge’s    Recommendation   (the   “Magistrate

   Recommendation”) regarding the direct financial benefit prong of vicarious liability in

   relation to Charter’s Motion to Dismiss Plaintiffs’ claim for vicarious liability, which is

   similar to Bright House’s Motion to Dismiss [Dkt. 38] currently pending before this

   Court. The District Court has not yet adopted the Magistrate’s Recommendation.


   Dated: November 13, 2019                   Respectfully submitted,

   Michael S. Elkin                           GUNSTER, YOAKLEY &
   Thomas Patrick Lane                        STEWART, P.A.
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                                 CERTIFICATE OF SERVICE

          I certify that on November 13, 2019, a true and correct copy of the foregoing was

   filed with the Court via CM/ECF which will send a notice of electronic filing to the

   parties of record.

                                        s/ William Schifino, Jr.
                                        William Schifino, Jr.




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